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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


NOVELPOINT SECURITY LLC,

                                 Plaintiff,                   Case No. 2:12-cv-100
v.
                                                              LEAD CASE
SAMSUNG ELECTRONICS AMERICA,
INC., ET AL.,

                                 Defendants.

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NOVELPOINT SECURITY LLC,
                                                              Case No. 2:12-cv-112
                                 Plaintiff,
v.                                                            PATENT CASE

APPLE INC.,                                                   JURY TRIAL DEMANDED

                                 Defendant.


                                         ORDER OF DISMISSAL

        On this day, the Court considered the Joint Motion to Dismiss Pursuant to Settlement

filed by Plaintiff NOVELPOINT SECURITY LLC and Defendant APPLE INC. The Court,

having considered this joint motion, is of the opinion that their request for dismissal should be

granted.

        IT IS THEREFORE ORDERED that all claims for relief asserted against APPLE INC.

by NOVELPOINT SECURITY LLC herein are dismissed, with prejudice, and all counterclaims

for relief against NOVELPOINT SECURITY LLC by APPLE INC. are dismissed without

prejudice; and
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      IT IS FURTHER ORDERED that all attorneys' fees, costs of court and expenses shall be

borne by each party incurring the same.
       SIGNED this 3rd day of January, 2012.
      SIGNED this 9th day of October, 2012.




                                               ____________________________________
                                               ROY S. PAYNE
                                               UNITED STATES MAGISTRATE JUDGE




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